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                    THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE


 UNWIRED GLOBAL SYSTEMS
 LLC,
                                              CASE NO. 1:23-CV-01170-CFC
       Plaintiff,
                                              PATENT CASE
              v.                              JURY TRIAL DEMANDED

 RIGADO INC.,

       Defendant.

         UNOPPOSED MOTION FOR EXTENSION OF TIME
    FOR DEFENDANT TO ANSWER OR OTHERWISE RESPOND TO
                 PLAINTIFF’S COMPLAINT

      Plaintiff UNWIRED GLOBAL SYSTEMS LLC (“Plaintiff”) files this

unopposed motion for an order extending the deadline for Defendant RIGADO

INC. (“Defendant”) to respond to Plaintiff’s Complaint for Patent Infringement

until and including December 8, 2023. No party will be prejudiced by this

extension. Accordingly, Plaintiff respectfully submits that good cause exists under

Fed. R. Civ. P. 6(b)(1)(A) for the requested extension. This is the first request for

an extension of this nature.


 Date: October 27, 2023                     Respectfully submitted,

                                            /s/ John C. Phillips, Jr.
                                            John C. Phillips, Jr. (#110)
                                            Megan C. Haney (#5016)
                                            Phillips, McLaughlin & Hall, P.A.
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                                        Attorneys for Plaintiff
                                        Unwired Global Systems LLC




              SO ORDERED, this ________ day of ________________ 2023.




              The Honorable Colm F. Connolly
              Chief, United States District Court Judge




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